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                                                                            Hearing set for 10:00 AM
                                                                            Hearing started at 10:20 AM
                                                                            Hearing ended at 11:42 AM

                                    UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF PUERTO RICO



MINUTES OF PROCEEDINGS: GROUP 1 (Defendants #2 to #18, #20 and #40)

HONORABLE AIDA M. DELGADO COLON, U.S. DISTRICT JUDGE

COURTROOM DEPUTY: Sulma López-Defilló                              DATE: February 21, 2023

COURT REPORTER: Joe Reynosa                                        CASE: 22-cr-213 (ADC)


                                                           Attorneys:

UNITED STATES OF AMERICA                           AUSA Richard Vance Eaton
                  v.

(2) Hector Luis Santiago Medina                    Allan A. Rivera-Fernandez, Esq.
(3) Luis Daniel Garcia Hernandez                   Maria A. Dominguez-Victoriano, Esq.
(4) Jermaine Calderon-Echevarria                   Luis R. Rivera-Rodriguez, Esq.
                                                           (Substituted by Allan Rivera)
(5) Victor Isaac Del Valle-Rivera                  Jennie M. Espada-Ocasio, Esq.
                                                           (Substituted by Ramond Sanchez)

(6) Luis Manuel Ortiz-Romero                       Michael Raymond Hasse, Esq.
(7) Jose Luis Castro-Vazquez                       Saul Roman-Santiago, Esq.
                                                           (Substituted by Laura Maldonado)
(8) Fabian Nieves-Rosales                          Marie L. Cortes-Cortes, Esq.
                                                           (Substituted by Antonio Bilbal)
(9) Karem Lynette Varcarcel-Cruz                   Luis R. Rivera-Rodriguez, Esq.
                                                           (Substituted by Allan Rivera)

(10) Pedro Alejandro Ocasio-Hernandez              Raul S. Mariani-Franco, Esq.


(11) Giovanni Andres Reyes-Cruz                    Raymond L. Sanchez-Maceira, Esq.
(12) Luis Manuel Vega-Quiles                       Hector J. Dauhajre-Rodriguez, Esq.


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(13) Luis Nike Santiago-Medina                      Ramon L. Garay-Medina, Esq.


(14) Gabriel Casanova-Yales                         Richard O. Dansoh, Esq.
(15) Fernando Ian Canino-Ortiz                      Edwin E. Leon-Leon, Esq.
(16) Carlos J. Santos-Diaz                          Miguel A. Rodriguez-Robles, Esq.
(17) Juan Ruiz-Diaz                                 Jason Gonzalez-Delgado, Esq.
(18) Ruben Figueroa-Rodriguez                       Diego H. Alcala-Laboy, Esq.
(19) Luis Miguel Munoz-Lopez (LF)
(20) Luis Alberto Cintron-Collazo                   Luis E. Tomassini-Segarra, Esq.
(40) Keyshia Michelle Rodriguez-Acevedo             Allan A. Rivera-Fernandez, Esq.



Case called for Status Conference:

The Government informed that discovery has been provided, that the Lab Report will be available
by 3/20/2023. That some jail phone calls recordings are still pending.
As to Defendant Hector Luis Santiago‐Medina (2): Defense Counsel Allan A. Rivera‐Hernandez
Informed that there are voluminous discovery and 52 cell phone calls recordings (10 minutes each),
requested additional time to finish reviewing discovery.
As to Defendant Luis Daniel Garcia Hernandez (3): Defense Counsel Maria Dominguez, informed
that she received the discovery package last week and the lab report are still pending, client is not
going to trial.
As to Defendant #4 – Defense Counsel Allan A. Rivera‐Hernandez in substitution for Luis R. Rivera‐
Rodriguez informed that his client is not going to trial.
As to Defendant Victor Isaac Del Valle‐Rivera (5): Defense Counsel Raymond Sanchez for Jennie
Espada informed that her client is not going to trial and requested additional time to review
discovery.
As to Defendant Luis Manuel Ortiz‐Romero (6): Defense Counsel Michael Raymond Hasse informed
that his client is going to trial and that he will be meeting with the government on 4/14/2023.
As to Defendant Jose Luis Castro‐Vazquez (7): Defense Counsel Laura Maldonado in substitution
for Saul Roman‐Santiago informed that counteroffer is under consideration. That the discovery is
voluminous, that it has around 300 phone recordings, requested 60 days to review discovery.
As to Defendant Fabian Nieves‐Rosales (8): Defense Counsel Antonio Bisbal in substitution for
Marie Cortes informed that the first counteroffer has been rejected and another counteroffer was
sent to the government for consideration and requested 45 days to continue with plea negotiations.



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As to Defendant Karem Lynette Varcarcel‐Cruz (9): Defense Counsel Allan A. Rivera‐Hernandez in
substitution for Luis R. Rivera‐Rodriguez informed that his client is not going to trial and that they
are in plea negotiations.
As to Defendant Pedro Alejandro Ocasio‐Hernandez (10): Defense Counsel Raul Mariani informed
that he has not meet with his client because he has been in quarantine in Salinas, he will be meeting
with him this Friday. Discovery was received and they are around 6 phone recording (many of the
calls are not relevant).
As to Defendant Giovanni Andres Reyes‐Cruz (11): Defense Counsel Raymond Sanchez‐Maceira
informed that he does not anticipate going to trial, discovery received and on 12/15/2022 requested
specific discovery to the government.
As to Defendant Luis Manuel Vega‐Quiles (12): Defense Counsel Hector Dauhajre informed that
his client is not going to trial and discovery was received and requested 45 days to continue plea
negotiations.
As to Defendant Luis Nike Santiago‐Medina (13): Defense Counsel Ramon Garay informed that he
met with AUSA Casablanca regarding the 174 phone recordings and that majority are not relevant.
Requested additional time to hear all recordings. His client has a pending revocation in criminal case
18‐413 (26) (ADC).
As to Defendant Gabriel Casanova‐Yales (14): Defense Counsel Richard Dansoh informed that his
client is not going to trial. Discovery is very voluminous; plea offer was very high and need to finish
listening to the phone recording. Plea offer rejected by client and requested 45 days to continue
reviewing discovery.
As to Defendant Fernando Ian Canino‐Ortiz (15): Defense Counsel Edwin Leon informed that his
client is not going to trial and is reviewing last discovery package. His client has another criminal
case #20‐438(1) (SCC) that is awaiting sentence, is relevant conduct to the case at bar and he will be
negotiating both cases for sentencing purposes.
As to Defendant Carlos J. Santos‐Diaz (16): Defense Counsel Miguel Rodriguez‐Robles informed
that his client in not going to trial and that he received around 105 phone recordings, but the
majority are not relevant with this client. Requested additional time.
As to Defendant Juan Ruiz‐Diaz (17): Defense Counsel Jason Gonzalez informed that his client is not
going to trial, that he received discovery package and that he is in plea negotiation.
As to Defendant Ruben Figueroa‐Rodriguez (18): Defense Counsel Diego Alcala informed that
count offer was sent on 2/7/2023 and is pending the approval of the government’s supervisor.
Requested 45 days to conclude negotiations.
As to Defendant Luis Alberto Cintron‐Collazo (20): Defense Counsel Luis Tomassini informed that
he is in the process of reviewing discovery package, that his client has another criminal case #21‐
249 (1) (PAD), and he will be negotiating both cases for sentencing purposes.


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As to Defendant Pablo De la Cruz‐Arias (21): Defense Counsel Antonio Bisbal informed that he did
not receive jail recordings. Not know if client is going to trial.
As to Defendant Pedro Victor Nieves‐Hernandez (22): Defense Counsel Alejandro Sanfeliu
informed that they are in plea negotiations and requested 60 days.
As to Defendant Mario Alexander Rivera (23): Defense Counsel Laura Madonado in substitution of
Ian Carlos Garcia Informed that discovery was received recently and requested additional time to
review discovery.
As to Defendant Carlos A. Benitez‐Rolon (24): Defense Counsel Yasmin Gonzalez informed that his
client is not going to trial and that they are in plea negotiations and requested 45 days.
As to Defendant Jesus David Maldonado‐Morales (25): Defense Counsel Jose Augustin‐Arce
informed that his client is not going to trial and that they are in plea negotiations and requested 45
days.
As of Defendant Julio Angel Galarza‐Rosado (26): Defense Counsel Jorge Luis Gerena informed that
he received the criminal record and client’s name is different and need additional time to
investigate.
As to Defendant Arsenio Laborde‐Figueroa (27): Defense Counsel Laura Maldonado informed that
plea offers was received and joint inspection was done. His client is awaiting trial for murder in a
state case (Caguas)
As to Defendant Omar Quiles‐Arce (28): Defense Counsel Javier Morales informed that he did not
receive jail call recordings and they are not close to plea negotiations.
As to Defendant Juan Francisco Torres‐Huertas (29): Defense Counsel Laura Maldonado in
substitution of Giovanni Canino informed that his client is awaiting trial for murder in a state case
(Caguas)
As to Defendant Julio Angel Galarza‐Rosado (30): Defense Counsel Jose Novas informed that his
client is not going to trial, they are very advanced in plea negotiations.
As to Defendant Kevin Jomar Maldonado‐Rosa (31): Defense Counsel Carlos Irizarry‐Rivera
informed that he received plea offer but has problem communicating with his client. He filed a
motion to withdraw as attorney (docket #406). Motion hearing was set for 2/23/2023.
As to Defendant Alex Daniel Rodriguez‐Huertas (32): Defense Counsel Jose Novas in substitution
of Thomas Trebilcock informed that discovery was received, that they are in plea negotiations and
requested additional time.
As to Defendant Lino Acosta‐Lopez (33): Defense Counsel Joseph Boucher informed that his client
is not going to trial, and they are very advanced in plea negotiations.




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As to Defendant Kristian Damian Martinez‐Cruz (34): Defense Counsel Jose Arce in substitution for
Ovidio Zayas informed that counteroffer was tendered and request additional time to continue with
plea negotiations.
As to Defendant Angel Rafael Torres‐Reyes (35): Defense Counsel Ramon Gonzalez informed that
he does not receive phone recordings. Plea offer was received and requested additional time to
continue plea negotiations.
As to Defendant Orlando Jose Rodriguez‐Lara (36): Defense Counsel Luis Guzman informed that
plea offer was received on 10/7/2022, that on 12/19/2022 discovery was discussed with client,
counteroffer sent to the government on 1/11/2023.
As to Defendant Chris Anthony Jimenez‐Ortiz (38): Defense Counsel Rosa Bonini informed that
discovery was review with his client. She mentions that the discovery is not available at MDC‐
Guaynabo for review of the inmates. Government informed that they have only placed discovery to
the attorneys, not at MDC‐Guaynabo. Thereafter, the Court ordered the Government to place all
the discovery by Friday at MDC.
As to Defendant Keyshla Michelle Rodriguez‐Acevedo (40): Defense Counsel Allan Rivera‐
Fernandez that their a voluminous discovery and requested additional time to finish reviewing
discovery.
As to Defendant Kelvin Joel Torres‐Flores (41): Defense Counsel Ian Teron that his client in not
going to trial, that today the counteroffer was rejected and requested additional time.
After having heard the parties, the Court imposed the following deadlines and settings:

        Dispositive Motion, if any due by May 10, 2023.

        Change of Plea Motions due by April 27, 2023.

        Court granted 60 days to exchange plea offer and pending jail recording to be heard.

        Government is ordered to place discovery packages by Friday 2/24/2022 at MDC-Guaynabo.

        Defendant that are going to trial as of today are Defendants #s 6, 11, 21, 22, 28. Parties are
         reminded that Jury Trial remains set for July 7, 2023.

        Further Status Conference set for March 21, 2023 @ 3:00 pm via VTC, for Group 1:
         Defendants #2 to #18, #20 and #40.


        Further Status Conference set for March 27, 2023 @ 3:00 pm via VTC, for Group 2:
         defendants #21 to #36, #38 and #41.
                                                               S/ Sulma López-Defilló
                                                               Courtroom Deputy Clerk


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